Case 1:11-cV-10815-GAO Document 19 Filed 01/11/12 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

 

BARRY C. MCANARNEY, as he is EXECUTIVE
DIRECTOR, MASSACHUSETTS LABORERS’ HEALTH
AND WELFARE FUND, MASSACHUSETTS LABORERS’
PENSION FUND and MASSACHUSETTS LABOR_ERS’
ANNUITY FUND; and JAMES V. MERLONI, JR., as he is
ADMINISTRATOR, NEW ENGLAND LABOR_ERS’
TRAINING TRUST FUND and TRUSTEE,
MASSACHUSETTS LABORERS’ LEGAL SERVICES FUND,
Plaintiffs,

VS.

UNIVERSAL CONSTRUCTION SERVICES, INC.,
Defendant,

and

STRUCTURE-TONE, INC.,
Reach~and-Apply Defendant.

 

 

DEFAULT JUDGl\'lENT

C.A.No. ll-lOSlS GAO

Defendant Universal Construction Services, Inc. (“Universal”), having failed to plead or

otherwise defend in this action and its default having been entered,

Now, upon application of plaintiffs and affidavits demonstrating that Defendant

Universal owes Plaintiffs the sum of $213,345.28, that the Defendant is not an infant or an

incompetent person or in the military service of the United States,

It is hereby ORDERED, ADJUDGED AND DECREED that Plaintiffs recover from

Defendant Universal the total benefit contributions owed in the amount of 5143,32 l .50, interest

on the delinquent contributions at rate of 10 percent per annum in the amount of $9,580.84,

interest on previously late-paid contributions in the amount of $6,150.14, liquidated damages of

Case 1:11-cV-10815-GAO Document 19 Filed 01/11/12 Page 2 of 2

$28,664.20, and attorney’s fees of 318,728.06 and costs of $6,900.54, for a total judgment of

$213,345.28 with interest as provided by law.

Deputy Clerk

Dated: l _/ll _//Z

Note: The post judgment interest rate effective this date is ‘ ll %.

 

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